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                                 123275




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

         In Re: COOK MEDICAL, INC., IVC
         FILTERS MARKETING, SALES
         PRACTICES AND PRODUCTS
         LIABILITY LITIGTION                               Case No. 1:14-ml-2570-RLY-TAB
                                                                          MDL No. 2570
         This Document Relates to:

 1:20-cv-6243       1:21-cv-6375
 1:20-cv-6248       1:21-cv-6405
 1:20-cv-6277       1:21-cv-6500
 1:21-cv-6346       1:21-cv-6568
 1:21-cv-6548

                                 APPEARACNE OF COUNSEL

To: The clerk of court and all parties of record

        I am admitted or otherwise authorized to practice in this court, and I appear in this case as

counsel for:

        Diane Stanley                   Tiajana Harris
        Nicholas Fitzpatrick            Elvis Stanley
        Shantel Moore                   William Ginther
        Craig Gidley                    Rachel Stanley
        Claude Howard

Dated: This 7th day of September 2021.             Respectfully submitted,

                                                          /s/ Robert M. Hammers, Jr.
                                                          Robert M. Hammers, Jr.
                                                          Georgia Bar No.        337211
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Case 1:14-ml-02570-RLY-TAB Document 19849 Filed 09/07/21 Page 2 of 2 PageID #:
                                 123276




                                  CERTIFICATE OF SERVICE

       I hereby certify that on September 7th, 2021, a true and correct copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system which will send notification

of such filing to all counsel of record.

                                            /s/ Robert M. Hammers, Jr.
                                            Robert M. Hammers, Jr.
